         Case 1:17-cr-00161-TSC Document 57 Filed 07/02/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        Case No. 17-CR-00161 (TSC)

        v.                                       VIOLATION:
                                                 18 U.S.C. § 1014
 IMRAN AWAN                                      (False Statements on Loan and Credit
                                                 Applications)
        Defendant.




                                NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney

J.P. Cooney is entering his appearance in the above-captioned matter as co-counsel for the United

States of America.


                                            Respectfully submitted,

                                            JESSIE K. LIU
                                            United States Attorney for the District of Columbia

                                     By:     /s/ J.P. Cooney
                                            J.P. COONEY
                                            D.C. Bar No. 494026
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                                            Chief, Fraud and Public Corruption Section
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                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
         Case 1:17-cr-00161-TSC Document 57 Filed 07/02/18 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2018, a copy of this Notice of Appearance was served by
Electronic Court Filing upon Christopher Gowen, counsel for the defendant.


                                                    /s/ J.P. Cooney
                                                   J.P. Cooney
                                                   Chief, Fraud and Public Corruption Section
